                IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        BRYSON CITY DIVISION
              CRIMINAL CASE NO. 2:14-cr-00006-MR-DLH-2


UNITED STATES OF AMERICA,       )
                                )
                  Plaintiff,    )
                                )
     vs.                        )                   ORDER
                                )
EVARD LAMAR BRADLEY,            )
                                )
                  Defendant.    )
_______________________________ )


     THIS MATTER is before the Court on the Government’s Motion to

Dismiss [Doc. 49].

     For the reasons stated in the Government’s Motion, and for cause

shown,

     IT IS, THEREFORE, ORDERED that the Government’s Motion [Doc.

49] is GRANTED, and the Bill of Indictment in this case is hereby

DISMISSED WITHOUT PREJUDICE as to Defendant Evard Lamar

Bradley.

     IT IS SO ORDERED.
                               Signed: October 29, 2014




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